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                  JUAN CARLOS CARRILLO

                                   v.
    GEICO ADVANTAGE INSURANCE COMPANY




PETITION FOR REMOVAL UNDER 28 U.S.C. § 1441 (B)

               (DIVERSITY JURISDICTION)




                             Exhibit “A”

                           COMPLAINT

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